
300 Multiple Choices

Multiple Choices
The document name you requested (/attorneys/assets/opinions/appellate/unpublished/a5054-15.pdf) could not be found on this server.
However, we found documents with names similar to the one you requested.Available documents:

/attorneys/assets/opinions/appellate/unpublished/a5045-15.pdf (transposed characters)
/attorneys/assets/opinions/appellate/unpublished/a5504-15.pdf (transposed characters)
/attorneys/assets/opinions/appellate/unpublished/a5054-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a1054-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5055-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a2054-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5084-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5094-15.pdf (mistyped character)


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